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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

LAZARO MARTINEZ,

      Plaintiff,

v.                                                 Case No.: 6:22-cv-00461

LOWE’S HOME CENTERS, LLC,
a Foreign Limited Liability Company,

     Defendant.
_________________________________/

            DEFENDANT LOWE’S HOME CENTERS, LLC’S
                    NOTICE OF REMOVAL

      Defendant, Lowe’s Home Centers, LLC (“Defendant”), in accordance with

Title 28 of the United States Code §§ 1331, 1441(a) and 1446, the applicable

Federal Rules of Civil Procedure and Rule 1.06 of the Local Rules of the United

States District Court for the Middle District of Florida, files this Notice of Removal

of the civil action filed by Plaintiff, Lazaro Martinez (“Plaintiff”), in the Ninth

Judicial Circuit in and for Orange County, Florida (Case No. 2022-CA-000501-O),

because there is a federal question at issue. The grounds for removal of this civil

action are set forth below.
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                                    Introduction

      On or about January 18, 2022, Plaintiff initiated this civil action in the Circuit

Court of the Ninth Judicial Circuit in and for Orange County, Florida, under the

name and style, Lazaro Martinez v. Lowe’s Home Centers, LLC, a Foreign Limited

Liability Company (the “Circuit Court Case”). The Circuit Court Case was assigned

case number 2022-CA-000501-O. A true and correct copy of all process, pleadings,

orders and other papers or exhibits of every kind on file in the Circuit Court Case

are attached as Composite Exhibit “A” and are incorporated herein by reference.

                              Timeliness of Removal

      Plaintiff served Defendant on February 4, 2022. Defendant filed this notice

of removal within thirty (30) days of service of Plaintiff’s Complaint as required

under 28 U.S.C. § 1446(b) and Murphy Brothers, Inc. v. Michetti Pipe Stringing,

Inc., 526 U.S. 344 (1999) (holding thirty-day removal period begins to run when the

defendant is formally served).

                          Federal Question Jurisdiction

      Plaintiff’s Complaint seeks relief for alleged violations of the Fair Labor

Standards Act, as amended, 29 U.S.C. § 201, et seq. (“FLSA”). This action is

removable to federal court pursuant to 28 U.S.C. § 1441(a) because it could have

been filed originally in this Court pursuant to the federal question jurisdiction

conferred by 28 U.S.C. § 1331. Specifically, jurisdiction under 28 U.S.C. § 1331



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exists because a federal question appears “on the face of the plaintiff’s properly

pleaded complaint.” See Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987).

Included within Composite Exhibit “A” is a true and correct copy of the complaint

served upon Defendant.

                                 Judicial District

      The Circuit Court of the Ninth Judicial Circuit in and for Orange County,

Florida is located within the United States District Court for the Middle District of

Florida, Orlando Division. Thus, venue is proper in this Court because it is “the

district and division embracing the place where the action is pending,” 28 U.S.C. §

1441(a), and removal to this Court is proper under 28 U.S.C. § 1446(a).

                            Filing of Removal Papers

      Pursuant to 28 U.S.C. § 1446(d), written notice of the removal of this action

will be promptly served on Plaintiff’s counsel and a Notice of Filing Notice of

Removal is simultaneously being filed with the Clerk of the Circuit Court in and for

Orange County, Florida, a copy of which is attached hereto as Exhibit “B.”

                                    Conclusion

      Removal is appropriate under 28 U.S.C. § 1331 because this action could have

been filed originally in this Court pursuant to federal question jurisdiction. This

notice of removal is being filed within thirty (30) days after service of Plaintiff’s

Complaint. Accordingly, this action currently pending in the Circuit Court in and



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for Orange County, Florida should be removed to the United States District Court

for the Middle District of Florida, Orlando Division, and this Court should assume

full jurisdiction of this case as provided by law.

DATED this 4th day of March, 2022.

                                        Respectfully submitted by:

                                        JACKSON LEWIS P.C.

                                        /s/ Laura E. Prather
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                                        Center, LLC




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                         CERTIFICATE OF SERVICE

         I hereby certify that on this 4th day of March, 2022, I filed Defendant

Lowe’s Home Centers, LLC’s Notice of Removal with the Clerk of Court, United

States Middle District of Florida – Orlando Division, via the CM/ECF filing

system which will send an electronic notice to counsel of record and was served

via U.S. mail and electronic mail to counsel of record.

                                       /s/ Laura E. Prather
                                       Attorney




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